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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                     •X

In re:

                                                          Chapter 7
de GRISOGONO U.S.A.,Inc.
dba de Grisogono USA,Inc.,                                Case No. 20-10389(SMB)

                                    Debtor.
                                                     ■X



         CHAPTER 7 TRUSTEE’S MOTION FOR AN ORDER AUTHORIZING
         THE TRUSTEE TO OPERATE THE DEBTOR’S BUSINESS ON A
         LIMITED BASIS AND FOR A LIMITED PERIOD OF TIME TO
         LIQUIDATE THE DEBTOR’S JEWELRY INVENTORY

TO:      THE HONORABLE STUART M. BERNSTEIN
         UNITED STATES BANKRUPTCY JUDGE

         In support of the motion (the “Motion”^ of Deborah J. Piazza, Chapter 7 trustee (the

“Trustee”) of the estate of de Grisogono U.S.A., Inc. (the “Debtor”), for an order authorizing

the Trustee to operate the Debtor’s business pursuant to section 721 of the Bankruptcy Code on a

limited basis and for a limited period of time in order to liquidate the Debtor’s inventory

consisting of high end gold and diamond jewelry and watches (the “Jewelry Inventory”), the

Trustee respectfully represents and states as follows:

                                      GENERAL BACKGROUND


         1.       On February 10, 2020, the Debtor filed a voluntary petition for relief under



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 Chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for the Southern

District of New York (the “Court”).

         2.        Shortly thereafter, Deborah J. Piazza was appointed as interim chapter 7 trustee of

the estate and is currently acting in such capacity.
         3.        From approximately March 2017 through the end of January 2020, the Debtor

operated a retail jewelry store at 698-700 Madison Avenue, New York, New York (the

“Premises”) selling the Jewelry Inventory. The Debtor is known for its high-end jewelry and the

unique design and quality of its products. The Trustee with the help of MYC & Associates

(“MYC”) vacated the Premises and removed the Jewelry Inventory and relocated it to Brinks, as

defined below, for safekeeping. Pursuant to a separate application filed simultaneously with this

Motion, the Trustee is seeking to retain MYC with respect to the marketing and sale of the

Jewelry Inventory.'
         4.        In approximately late January 2020, the Debtor ceased operations due to the

Debtor’s Swiss parent company, De Grisogono SA, having filed for creditor protection with the

Swiss authorities in late January 2020.

         5.        Shortly after the Trustee’s appointment, the Trustee, Trustee’s counsel, and MYC

inspected the Premises, inventoried and secured the Debtor’s Jewelry Inventory. The Jewelry

Inventory at the Premises was valued at approximately 4.5 million dollars at retail and is

currently being stored at Brinks Global Services, a Division of Brinks, Inc. (“Brinks”). 580 Fifth

Avenue, New York, New York 10036, for safekeeping. Further, Brinks has obtained insurance

on the Jewelry Inventory.

         6.       Further, at the time of the commencement of this case, the Debtor had various

Jewelry Inventory on consignment at various high-end retailers, including Saks Fifth Avenue,

' Further, the sublease for the Premises has been rejected pursuant to an order of this Court dated February 28, 2020
and possession of the Premises has been turned over to the Debtor’s sublandlord.


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Neiman Marcus and Bergdorf Goodman (collectively, the “Retailers”). The Trustee has been in

communication with the Retailers and has been able to determine that certain of the Retailers


would like to continue with the sale of the Jewelry Inventory and others would like to return the

Jewelry Inventory in their possession to the Trustee.

                                     SUMMARY OF RELIEF REQUESTED

         7.        The Trustee seeks an order of this Court pursuant to section 721 of the

Bankruptcy Code to operate the Debtor’s business on a limited basis and for a limited period of

time in order to liquidate the Debtor’s Jewelry Inventory located at Brinks and on consignment at

those Retailers wishing to continue to sell the Jewelry Inventory, provided that the Jewelry

Inventory is sold in excess of the Debtor’s cost to the extent ascertainable. The Trustee intends

to sell the Jewelry Inventory for up to a six month period of time, without prejudice to seeking

further extensions of time, on a case by case basis by private sale, with or without competitive

bidding, subject to the Trustee’s best business judgment in order to maximize the benefit to the
Debtor’s estate and its creditors.


         JURISDICTION. VENUE AND STATUTORY PREDICATES FOR RELIEF

         8.        The Court has jurisdiction over this Applieation pursuant to 28 U.S.C. §§ 157 and

1334. Venue of this proceeding is proper in this district and before this Court pursuant to 28

U.S.C. §§ 1408 and 1409. This matter is a core proceeding within the meaning of 28 U.S.C. §

157(b)(2).

         9.        The statutory provisions governing the relief requested in this Application are 11

U.S.C. sections 721 and 105.


                                         BASIS FOR THE RELIEF


         10.      In order for the Trustee to perform her duties most effectively and maximize the

value of the Debtor’s estate, it will be highly beneficial for the Trustee to operate the Debtor’s



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business on a limited basis and for a limited time. Specifically, the Trustee seeks authority to sell

the Jewelry Inventory either through (i) MYC, who will be marketing and selling the Jewelry

Inventory in the Trustee’s possession stored, on her behalf, at Brinks or (ii) the Retailers who

have possession of the Jewelry Inventory on consignment from the Debtor. The Trustee has

determined in her best business judgment the sales of the Jewelry Inventory should be done in

this manner and the Trustee needs the ability to be able to sell the Jewelry Inventory on a case by

case basis by private sale through MYC with respect to the Jewelry Inventory stored at Brinks

and through the Retailers with respect to the consigned Jewelry Inventory, with or without

competitive bidding, subject to the Trustee’s best business judgment. In all cases, the Trustee

will not sell the Jewelry Inventory at less than the Debtor’s cost to the extent ascertainable.

         11.       The aforesaid protocol is contemplated in section 721 of the Bankruptcy Code,

entitled “Authorization To Operate Business.

Section 721 provides:

                            The court may authorize the trustee to operate the business of the debtor
                            for a limited period, if such operation is in the best interest of the estate
                            and consistent with the orderly liquidation of the estate.
11 U.S.C. §721.

         12.       Further, section 105(a) of the Bankruptcy Code provides:

                            The Court may issue any order, process or judgment that is necessary or
                            appropriate to carry out the provisions of this title
11 U.S.C. §105(a)

         13.                The Court has discretion in considering requests to operate a debtor’s

business under section 721. In re Hessinger Res. Ltd.. 67 B.R. 378, 384(S.D. III).

         14.       Authority to operate a business in a chapter 7 proceeding is appropriate “in a

limited number of situations, such as where it appears that a business could be sold for a greater

price as a going concern that would be obtained in ordinary liquidation.” In re AT&T Trailer.

Inc.. 53 B.R. 144, 147 (Bankr. D. Wyo. 1985). See also In re Lason. Inc.. 300 B.R. 227, 233


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(Bankr. D. Del. 2003)(recognition that liquidation in chapter 7 may occur under “forced sale'

conditions or as a going concern with section 721 authority).

          15.      The statutory option for a chapter 7 trustee to run a debtor’s business on a limited

basis contemplates circumstances where preserving assets pending a future sale may result in an

increased benefit to the estate as opposed to an immediate cessation of operations and piecemeal

liquidation. S^,            In re Quarter Moon Livestock Co.. 116 B.R. 775, 782 (Bankr. S. Idaho

1990)(authorizing trustee to operate debtor’s cattle business “to wait until fall roundup and sell

the cattle herd and to maintain livestock until that time”). Accord In re Bionol Clearfield. LLC.

Case No. 11-12301 (PJW) [Docket No. 75] (granting Chapter 7 trustee’s motion to operate

debtor’s business for limited time pursuant to §721). See also 3-721 Collier Bankruptcy Manual

  721.02 (“Courts may authorize the chapter 7 trustee to operate the debtor’s business on an

interim basis where doing so will maximize the value of the estate and thus increase creditor

recoveries.”).

         16.      This case involves circumstances where preserving and marketing the assets

pending future sales will likely result in an increase in value to the benefit of the Debtor’s estate

and its creditors. Additionally, permitting the Trustee to sell the Jewelry Inventory in the manner

contemplated herein will enable the Trustee to have an easy and simple mechanism to sell the

Jewelry Inventory at beneficial prices. In the aforesaid regard, Brinks has agreed to not only

store and insure the Jewelry Inventory but will enable proposed purchasers to arrange for

viewings of the Jewelry Inventory so as to facilitate the purchase of the Jewelry Inventory.^ This

will enable the Trustee and MYC to implement an appropriate procedure to liquidate the Jewelry

Inventory in a coordinated and effective manner which should generate a greater recovery than a



^ The storage and the insurance relating to the Jewelry Inventory was negotiated by the Trustee and MYC with
Brinks. Further, MYC and the Trustee have been in touch with third parties and consignees concerning the
marketing and proposed sale of the Jewelry Inventory.


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bulk or auction sale of the Jewelry Inventory to industry players. It also provides a facility to

protect and preserve, pending liquidation, the Jewelry Inventory located at Brinks as well as the

Jewelry Inventory on consignment at the Retailers when and if the Retailers want to return any

Jewelry Inventory. In any event, the Trustee will not sell any of the Jewelry Inventory for less

than the Debtor’s cost to extent ascertainable without further order of the Court.

          17.      The Trustee cannot currently predict how much time she will need to operate the

Debtor’s business. The Trustee respectfully requests she be given such authority for a limited

period of one a six months period of time without prejudice to request further extensions in the

future.


          18.      The Trustee will fulfill her obligations under Bankruptcy Code section 704(a)(8)

by providing and filing periodic reports and summaries of the operation of the Debtor’s business.

including a statement of receipts and disbursements, and such other information as the U.S.

Trustee and/or the Court requires. See 11 U.S.C. §704(a)(8)

                                                 NOTICE


          19.      Notice of this Application will be given to: (a) the Debtor;(b) the United States

Trustee; (c) all parties that have filed requests for service in this case; and (d) all creditors and

parties in interest. The Trustee submits that under the circumstances, no other or further notice is

required pursuant to the Bankruptcy Code or Bankruptcy Rules 6004 or 2002. Pursuant to a

separate motion, the Trustee is requesting an expedited hearing with respect to the relief

requested herein.

          20.      No previous application under section 721 has been made to this or any other

Court.




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         WHEREFORE, the Trustee respectfully requests entry of an order of this Court, in the

form annexed hereto as Exhibit A, authorizing the Trustee to operate the Debtor’s business and

for such other and further relief as this Court may deem just and proper.


Dated: New York, New York
       March 12, 2020
                                                  TARTER KRINSKY & DROGIN LLP
                                                  Counsel to Deborah J. Piazza,
                                                  the Chapter 7 Trustee


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                                   EXHIBIT A
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                           X

In re;
                                                                Chapter 7
de GRISOGONO U.S.A., Inc.
dba de Grisogono USA,Inc.,                                      Case No. 20-10389(SMB)

                                    Debtor.
                                                           X



         ORDER           AUTHORIZING            THE       TRUSTEE          TO      OPERATE           THE
         DEBTOR’S BUSINESS ON A LIMITED BASIS AND FOR A LIMITED
         PERIOD OF TIME TO LIQUIDATE THE DEBTOR’S JEWELRY
         INVENTORY


         Upon the motion dated March 12, 2020 (the “Motion”)* of Deborah J. Piazza, Chapter 7

trustee (the “Trustee”) of the above-captioned debtor (the “Debtor”), for authority pursuant to

section 721 of the Bankruptcy Code to operate the Debtor’s business for a limited purpose and a

limited period; and the Court having jurisdiction to consider the Motion and the relief requested

therein in accordance with 28 U.S.C. §§ 157 and 1334; and consideration of the Motion and the

relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due notice of the Motion

and this Order having been made; and an expedited hearing having been held before this Court

on March             , 2020 pursuant to an order shortening time for a hearing; and upon all papers

and proceedings had herein; and upon the record of the hearing; and after due deliberation it

being determined that the relief requested is necessary to the administration of the Debtor’s

estate, it is hereby

         ORDERED, that the Motion is granted and the Trustee is hereby authorized to operate

the Debtor’s business and sell the Debtor’s Jewelry Inventory subject to the Trustee’s best

business judgment either through (i) MYC, who will be marketing and selling the Jewelry

  Capitalized temis not defined in this Order herein shall the meanings ascribed to them in the Motion.


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Inventory in the Trustee’s possession stored, on her behalf, at Brinks or (ii) the Retailers who

have possession of the Jewelry Inventory on consignment from the Debtor, on a case by case

basis by private sale, with or without competitive bidding for a six month period of time, without

prejudice to seeking further extensions, in all cases, for not less than the Debtor’s cost to the

extent ascertainable, subject to the Trustee’s best business judgment; and it is further

         ORDERED,that the sales contemplated by this Order are authorized to be implemented

without further notice to creditors and parties in interest; and it is

         ORDERED, that the Court shall retain jurisdiction to hear and determine all matters

arising from or relating to the implementation of this Order.


Dated: New York, New York
       March      ,2020


                                                 THE HONORABLE STUART M. BERNSTEIN
                                                 UNITED STATES BANKRUPTCY JUDGE




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